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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

UNITED STATES OF AMERICA                )
                                        )
                                        )
                      v.                ) 2:16-cr-00084-JDL
                                        )
MUSTAFA HASSAN,                         )
                                        )
         Defendant.                     )


            ORDER ON MOTION FOR COMPASSIONATE RELEASE

         On March 16, 2017, Mustafa Hassan was convicted after a jury trial of one

count of conspiracy to distribute cocaine and cocaine base, in violation of 21 U.S.C.A.

§§ 841(a)(1), 846 (West 2020). On November 2, 2017, Hassan was sentenced to a term

of imprisonment of 84 months, to be followed by a term of supervised release of four

years.     Hassan now moves for compassionate release under 18 U.S.C.A. §

3582(c)(1)(A)(i) (West 2020), based on the alleged health risks he faces in federal

custody due to the COVID-19 pandemic (ECF No. 163). For the reasons that follow,

I deny the motion.

                                I. LEGAL STANDARD

         The compassionate release statute, as amended by the First Step Act of 2018,

Pub. L. No. 115-391, § 603(b), 132 Stat. 5194, 5239-41 (codified at 18 U.S.C.A. §

3582(c)-(d) (West 2020)), permits a court to consider a motion for compassionate

release brought by a defendant “after the defendant has fully exhausted all

administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant’s behalf” or after “the lapse of 30 days from the receipt of such a
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request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C.A.

§ 3582(c)(1)(A). Once a court determines that it may consider a defendant’s motion,

the court may reduce the defendant’s sentence if, after considering the factors set

forth in 18 U.S.C.A. § 3553(a), it finds that “extraordinary and compelling reasons

warrant such a reduction” and “that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.” Id. § 3582(c)(1)(A)(i).

       Because the policy statement issued by the Sentencing Commission under the

compassionate release statute, U.S. Sentencing Guidelines Manual § 1B1.13(2) (U.S.

Sentencing Comm’n 2013), has not been updated since the enactment of the First

Step Act, I have previously determined that although I should consider the policy

statement, I need not strictly apply it when deciding whether to grant compassionate

release. 1 See United States v. Calhoun, No. 2:15-cr-00056-JDL-1, 2020 U.S. Dist.

LEXIS 117527, at *2-3 (D. Me. July 1, 2020); accord United States v. Brooker, --- F.3d

---, 2020 WL 5739712, at *5-7 (2d Cir. Sept. 25, 2020).

                                              II. ANALYSIS

       Hassan argues that compassionate release is warranted because his medical

history places him at a high risk of severe illness or death from COVID-19. Before

evaluating the merits of Hassan’s motion for compassionate release, I address the




  1 The policy statement provides that compassionate release should only be granted upon a finding

that the defendant “is not a danger to the safety of any other person or to the community, as provided
in 18 U.S.C. § 3142(g).” U.S. Sentencing Guidelines Manual § 1B1.13(2). Additionally, an application
note to the policy statement delineates four categories of “extraordinary and compelling reasons”
warranting compassionate release. Id. cmt. n.1. The first three categories concern the defendant’s
medical condition, age, and family circumstances respectively. See id. The fourth is a catchall category
encompassing reasons “other than, or in combination with” those outlined in the first three categories,
“[a]s determined by the Director of the Bureau of Prisons.” Id.
                                                    2
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threshold question of whether he has pursued administrative remedies, which is a

prerequisite to judicial action.

A.     Administrative Remedies

       As noted above, a court may only consider a defendant’s motion for

compassionate release “after the defendant has fully exhausted all administrative

rights to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

behalf” or after “the lapse of 30 days from the receipt of such a request by the warden

of the defendant’s facility, whichever is earlier.” 18 U.S.C.A. § 3582(c)(1)(A). Courts

have referred to this provision as a “hybrid requirement” that defendants “either

exhaust or wait thirty days.” See, e.g., United States v. Haney, No. 19-cr-541 (JSR),

2020 WL 1821988, at *3 (S.D.N.Y. Apr. 13, 2020). I have previously determined that

the hybrid requirement is a non-jurisdictional claim-processing rule. See Calhoun,

2020 U.S. Dist. LEXIS 117527, at *5. Although courts generally must enforce the

hybrid requirement if the Government properly raises an objection based on a

defendant’s failure to comply with it, such objections can be waived or forfeited. 2 Id.

at *5-6 (citing Fort Bend Cty. v. Davis, 139 S. Ct. 1843, 1849 (2019) and United States

v. Reyes-Santiago, 804 F.3d 453, 458, 478 (1st Cir. 2015)).

       Hassan filed a compassionate release request with the warden at FCI Fort Dix

on May 15, 2020. The warden denied his request on May 22, 2020. Hassan then filed

a “Request for Administrative Remedy” on June 12, 2020, which the warden denied

on June 22, 2020. Hassan filed his original motion for compassionate release with


 2 I do not address whether any equitable exceptions may excuse a defendant’s failure to comply with

the claim-processing rule at issue. See Fort Bend Cty., 139 S. Ct. at 1849 n.5; Ramirez, 2020 WL
2404858, at *7 (describing the split of authorities on this issue).
                                                    3
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the Court on May 26, 2020 (ECF No. 144). Following the appointment of counsel,

Hassan filed an amended motion on August 21, 2020 (ECF No. 163).

       Although both parties assert that Hassan has exhausted his administrative

remedies, the record indicates that other layers of administrative appeal were open

to him. Moreover, Hassan did not wait thirty days after filing his request with the

warden before he filed a motion for compassionate release with the Court on May 26.

However, well over thirty days elapsed between the date Hassan filed his request to

the warden and the date he filed his amended motion to the Court. Additionally, the

Government has waived any challenge to Hassan’s compliance with § 3582(c)(1)(A)’s

hybrid requirement. 3 ECF No. 165 at 2; see United States v. Belanger, No. 1:15-cr-

00072-JDL, 2020 WL 5351028, at *2 (D. Me. Sept. 4, 2020).                          Pursuant to the

Government's waiver, I proceed to the merits of Hassan’s motion.

B.     The Merits

       1.      Extraordinary and Compelling Reasons

       As explained above, a court may only grant compassionate release if it finds

that “extraordinary and compelling reasons” warrant a reduction in the defendant’s

sentence. 18 U.S.C.A. § 3582(c)(1)(A)(i). Hassan argues that extraordinary and

compelling reasons exist because he is at a heightened risk of severe illness or death

from COVID-19 due to what Hassan asserts to be a “diagnosed and long-term


  3 Accordingly, I need not decide three unsettled questions of law presented by Hassan’s motion for

compassionate release: (1) whether defendants who receive a denial from the Bureau of Prisons may
choose to satisfy the hybrid requirement by waiting thirty days or must instead exhaust
administrative rights to appeal the warden’s decision, (2) whether the thirty-day lapse contemplated
by § 3582(c)(1)(A) must be calculated according to the date of the defendant’s initial motion or whether
it may be calculated according to the date of an amended motion, or (3) relatedly, whether the thirty-
day lapse must occur before the defendant may bring a motion for compassionate release or merely
before the Court may decide the motion.
                                                    4
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gastrointestinal medical condition.” ECF No. 163 at 4-5. He also contends that his

age and African heritage place him at an increased risk from the virus.

       Hassan’s medical records indicate that he has been diagnosed with

gastroesophageal reflux disease (“GERD”), as well as helicobacter pylori, a chronic

bacterial infection. 4    However, Hassan has not established that either of these

conditions place him at an elevated risk of severe illness from COVID-19. The

COVID-19 guidance issued by the Centers for Disease Control and Prevention

(“CDC”) does not classify GERD, or any other gastrointestinal condition, as a COVID-

19 risk factor.     See Coronavirus Disease 2019 (COVID-19): People with Certain

Medical      Conditions,       Ctrs.     for     Disease      Control      and      Prevention,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-

medical-conditions.html (last visited Oct. 21, 2020).            Similarly, the studies that

Hassan cites suggest only that certain “chronic inflammatory disease[s],

comorbidities (such as diabetes mellitus), and the use of glucocordicoids”—none of

which Hassan has indicated that he has—may be associated with an increased risk

from the virus.          Coronavirus Disease 2019 (COVID-19): Issues Related to

Gastrointestinal Disease in Adults, Sunanda V. Kane et al., available at

uptodate.com/contents/coronavirus-disease-2019-covid-19-issues-related-to-

gastrointestinal-disease-in-adults/print (last visited Oct. 21, 2020). Like the CDC’s

guidance, these studies do not indicate that GERD is a risk factor for COVID-19.




 4 Although Hassan’s medical records dating between 2010 and 2013 suggest that he occasionally had

gastrointestinal ailments during that time, such as vomiting and nausea, the source of which were
never conclusively diagnosed, there is nothing to indicate that Hassan has experienced those
symptoms since 2013.
                                                 5
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Thus, Hassan has not shown that he is at an increased risk of severe illness from

COVID-19 due to his medical condition.

      Hassan also contends that his African heritage increases his risk of severe

illness from COVID-19. ECF No. 163 at 5-6. It is true that, as a demographic matter,

people of color “are being disproportionately affected by COVID-19.” Coronavirus

Disease 2019 (COVID-19): Health Equity Considerations and Racial and Ethnic

Minority     Groups,     Ctrs.    for    Disease      Control     and     Prevention,

www.cdc.gov/coronavirus/2019-ncov/community/health-equity/race-ethnicity.html

(last visited Oct. 21, 2020). However, the very studies that Hassan cites for this

proposition also state that these racial disparities arise from longstanding and

systemic social and economic disparities, such as access to healthcare. See, e.g., id.

As I have previously observed, these studies—and the disparities they assess—“do

not suggest that Black individuals are otherwise inherently predisposed to COVID-

19 infection and complications.” United States v. Martin, No. 2:28-cr-00124-JDL,

ECF No. 96 at 6-7 (D. Me. Sept. 25, 2020). Thus, they do not aid in assessing the

individual medical risk for a person whose medical condition, social situation, and

access to healthcare are specifically known. See id. I therefore find that Hassan’s

heritage does not place him at an increased risk of severe illness from COVID-19.

      I also note that statistics gathered and updated daily by the Bureau of Prisons

indicate that twelve inmates and six staff members are currently testing positive for

COVID-19 at FCI Fort Dix, which does weigh slightly in favor of finding

extraordinary and compelling reasons.      COVID-19 Coronavirus, Fed. Bureau of

Prisons, available at https://www.bop.gov/coronavirus/ (“COVID-19 Cases” section,

                                          6
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“Full breakdown and additional details” hyperlink) (last visited Oct. 21, 2020).

However, because Hassan has not established that he is at a heightened risk of severe

illness or complications arising from COVID-19, I conclude that he has not

demonstrated extraordinary and compelling reasons to support his release. 5

                                    III. CONCLUSION

       For the reasons explained above, Hassan’s motion for compassionate release

(ECF No. 163) is DENIED.



       SO ORDERED.

       Dated this 21st day of October, 2020.


                                                            /s/ JON D. LEVY
                                                       CHIEF U.S. DISTRICT JUDGE




 5 Because I conclude that Hassan has not demonstrated extraordinary and compelling reasons within

the meaning of § 3582(c)(1)(A)(i), I do not reach the question of whether the § 3553(a) sentencing
factors would support granting Hassan’s motion.
                                                 7
